   Case
MIED         2:25-cv-10806-MAG-EAS
     (Rev. 5/05) Request for Clerk’s Entry of Default            ECF No. 60, PageID.1413 Filed 06/03/25 Page 1 of 1

                                                         UNITED STATES DISTRICT COURT
                                                         EASTERN DISTRICT OF MICHIGAN
      Jane Doe 1, et al.,



                      Plaintiff(s),                                                    Case No.        25-10806

v.                                                                                     Judge Mark A. Goldsmith

                                                                                       Magistrate Judge        Elizabeth A. Stafford
 Matthew Weiss, et al.,
                      Defendant(s).
                                                                                /

                                            REQUEST FOR CLERK’S ENTRY OF DEFAULT

          In accordance with Fed. R. Civ. P. 55(a), I request that a Clerk’s Entry of Default be entered against

Matthew Weiss                                                                                            for failure to plead or otherwise defend.

                                                                             AFFIDAVIT

          In support of my request for Clerk’s Entry of Default, I state that:

          1. The summons and complaint were served on April 28, 2025                                                                         at

                32 Wyndy Brook Ln, Madison, CT 06443                                                                                          by

                  Certified Mail (ECF No 53)                                                       .
                [certified mail, regular mail, personal service, waiver of service]


          2. The defendant has failed to plead or otherwise defend in accordance with Fed. R. Civ. P. 12.

          3. The defendant is not an infant, incompetent person or a member of the military service.

          4. This statement is true and is signed under the penalty of perjury.

Date: June 3, 2025                                                            s/Erik H. Johnson
                                                                           Signature

                                                                            P85017
                                                                           Bar No.

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